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 2                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 3                                    AT SEATTLE

 4
        QUEEN ANNE NORTH HOMEOWNERS
        ASSOCIATION, et al.,
 5
                             Plaintiffs,
 6
           v.                                                C20-104 TSZ
 7
        ALLSTATE INSURANCE COMPANY,                          ORDER
 8      WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY, and DOE
 9      INSURANCE COMPANIES 1-10,
10                           Defendants.

11
            Counsel having advised the Court that this matter has been resolved as between all
12
     Plaintiffs and Defendant Westchester Surplus Lines Insurance Company (“Westchester”),
13
     and it appearing that no issue remains for the Court’s determination,
14
            NOW, THEREFORE, IT IS ORDERED that Plaintiffs’ claims against Defendant
15
     Westchester are DISMISSED with prejudice and without costs.
16
            In the event settlement is not perfected, either party may move to reopen and trial
17
     will be scheduled, provided such motion is filed within 60 days of the date of this Order.
18
            The Clerk is directed to send a copy of this Order to all counsel of record.
19
            IT IS SO ORDERED.
20
            Dated this 11th day of January, 2021.
21

22                                                    A
                                                      Thomas S. Zilly
23                                                    United States District Judge
     ORDER - 1
